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UNITED STA'l`l£S DISTRICT COURT
FOR ’l`l'lF, DISTRICT Ol`*` COLUMBIA § § L E D

 

 

MAR ll l 2019

) gterk, U.S. Dtstrict and

UNITED STATES OF AMERICA ) Bankruptey COul'tS
)
)

v. ) Criminal l\lo. 81-0306(1’[}") _

)

JOi-lN W. HINCKLEY, JR., )
)

Del"endant r' Petitioner. )

)
ORDER

 

On November l9, 2019__ the Cottrt issued a Minute Order directing the parties to
tile on the public docket redacted versions oI` three exhibits [Dl<t. Nos. 661-3, 661~4, 661-5] that
were filed under seal on Novernber lS, 20]8. The three exhibits that vvere filed under seal are:
(l ) the Independent Forensic Psychiatric Evalttation of .lohn W. l-Iincl<ley, Jr. by l)r. Rayntond
I’atterson; (2) the Independent Forensic l’sychological Evaluation by Dr. Mitchell Hugonnet; and
(3) the Violence Risk Assessment Update ofJolin W. Hincl<ley, Jr. by Dr. Samantha Benesh.

In response to the Court"s l\/Iinttte Orde:', the United States [Dkt. No. 667] and the
Department of'Behavioral I-Iealth ("‘DBI--I”) [Dkt. No. 668] moved l"or leave to tile under seal
their attached notice of filing ot" their redacted expert reports Attached to their sealed motions,
the United States and DBI-I filed - also under seal - the proposed redacted versions of their
expert reports. 'l`he Court granted by l\/linutc Order the United States’ and DBl-l’s motions for
leave to tile under seal on December 20, 2018 and January 8, 2019, respectively Accordingly,
all three expert reports - in their proposed redacted l"orm - and their respective notices of filing

were liled under seal on the docket [Dkt. Nos. 669, 6?0].

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Mr. Hinckley’s counsel, Mr. Levine, then objected by email to the filing of the
three reports - as redacted by the United States and DBH - on the public docket. In response,
the Court ordered [Dkt. No. 672] Mr. Levine to submit a memorandum of law presenting his
legal arguments as to why redacted versions of the expert reports should not be filed on the
public docket. lOrt February 13, 2019, Mr. I-Iinckley, through counsel, withdrew [Dkt. No. 673]
his objections to the filing of the redacted expert reports.

Subsequently, counsel for the United States submitted by email to the Court
updated versions of the expert reports that incorporated additional redactions requested by Mr.
Levine, which the United States did not oppose. Counsel for DBH also represented by email that
it consented to the proposed redactions as agreed between the United States and counsel for Mr.
Hinckley. Thus, it appears that all parties have reached agreement as to the final redacted
versions of the expert reports.

Accordingly, it is hereby

-ORDERED that the parties shall file the updated redacted reports by Dr.
Patterson, Dr. Hugonnet, and Dr. Benesh on the public docket on or before March 15, 2019.

.SO ORDERED.

C§,.a z/j;.).~

PAUL L. FRIEDMAN
United States District Judge

DATE; 3 \\\ \¢`

